Case 20-02035-CMB           Doc 38       Filed 10/19/20 Entered 10/19/20 16:44:52          Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:
Nicki M. Todaro                                                Bankruptcy No. 19-23010-CMB
                     Debtor/Plaintiff
                                                               Chapter 13
         v.
Wells Fargo Bank, N.A.                                         Adversary No. 20-02035-CMB
                     Defendant
Wells Fargo Bank, N.A.
                                                                Related to Doc. Nos. 31, 34, 37
                     Third Party Plaintiff
         v.

PNC Bank, N.A.
                     Third Party Defendant

                                          ORDER OF COURT
         AND NOW, this 19th day of October, 2020, upon consideration of the Joint Motion (Doc.
 No. 37) to extend deadlines and continue the hearing on November 10, 2020, it is hereby
         Ordered that the Motion is granted, and the deadlines in the Court’s Orders of August
 17, 2020 (Doc. No. 31) and September 15, 2020 (Doc. No. 34) are extended to November 9, 2020
 for the parties to meet and confer, and to November 16, 2020 for the parties to file their joint
 status report; and it is further
         Ordered that the hearing scheduled for November 10, 2020 at 11:30 a.m. is continued to
 December 9, 2020, at 11:30 A.M. via the Zoom Video Conference Application (“Zoom”). To
 join the Zoom hearing, please initiate by using the following link 15 minutes prior to your
 scheduled hearing time: https://www.zoomgov.com/j/16143800191, or alternatively, attend by
 using the following Meeting ID: 161 4380 0191. ALL HEARING PARTICIPANTS ARE
 REQUIRED TO REVIEW AND COMPLY WITH THE ZOOM PROCEDURES, which can be
 found at https://www.pawb.uscourts.gov/sites/default/files/pdfs/cmb-proc-videohrg.pdf.


                                                              By the Court,
    FILED
    10/19/20 4:28 pm
    CLERK                                             ________________________
                                                             _______________________J.
    U.S. BANKRUPTCY
                                                      Carlota M. Böhm
    COURT - WDPA
                                                      Chief United States Bankruptcy Court Judge
